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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                                                    Criminal Action No. 1:21-cr-00332 (JMC)
        v.

 PAUL RUSSELL JOHNSON, et al.,

                       Defendants.


                                            ORDER

       On April 30, 2021, the Government filed an indictment against Paul Russell Johnson and

Stephen Chase Randolph alleging that the two men committed multiple crimes during the events

of January 6, 2021. ECF 15. A Superseding Indictment was later filed against them. ECF 61.

Johnson and Randolph were both charged with:

   x   Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count One);

   x   Obstruction of an Official Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count

       Two);

   x   Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, Inflicting

       Bodily Injury, and Aiding and Abetting, in violation of 18 U.S.C. §§ 111(a)(1) and (b) and

       2 (Count Three);

   x   Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous

       Weapon, in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) (Count Five);

   x   Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or

       Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A) (Count Six);




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   x   Engaging in Physical violence in a Restricted Building or Grounds with a Deadly or

       Dangerous Weapon, Resulting in Significant Bodily Injury, and Aiding and Abetting, in

       violation of 18 U.S.C. §§ 1752(a)(4), (b)(1)(A), (b)(1)(B) and 2 (Count Seven);

   x   Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D) (Count

       Eight);

   x   Act of Physical Violence in the Capitol Grounds or Buildings and Aiding and Abetting, in

       violation of 40 U.S.C. §§ 5104(e)(2)(F) and 2 (Count 9).

       See id. Additionally, Randolph was charged with Assaulting, Resisting, or Impeding

Certain Officers, in violation of 18 U.S.C. § 111(a)(1) (Count Four). Id. at 3.

       The Government prosecuted Johnson and Randolph in this two co-defendant case until it

included them in the Third Superseding Indictment filed in United States v. Samsel, et al., No. 21-

cr-537, ECF 80. Johnson and Randolph became two of five co-defendants in the Samsel case.

       The docket in this case quieted after the Third Superseding indictment was filed in Samsel

because the prosecution shifted to that case. Essentially, that case supplanted this case. In light of

these developments, Randolph filed a Motion to Dismiss in this case arguing that the same conduct

was charged in Samsel. See ECF 87. The Government did not oppose the Motion. See ECF 89.

Johnson joined the Motion as well. ECF 91.

       The Court concludes that the Government has opted to prosecute Johnson and Randolph in

Samsel rather than this case. Because the Government does not object to the Motion to Dismiss,

the Court grants it. Accordingly, it is

       ORDERED that the Motion to Dismiss, ECF 87, is GRANTED as to Paul Russell Johnson

and Stephen Chase Randolph. The case is dismissed in its entirely.




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SO ORDERED.

DATE: March 6, 2023



                                        Jia M.
                                            M Cobb
                                        U.S. District Court Judge




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